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MlDDLE olsTRlcT oi= F|orida
FORT MYERs oivlsioN
cHERYi_ BELL, j
Piaintirr,

v_ cAsE No.
HENDRY couNTY olsTRicT scHooi_
BOARD,

Defendant.
l

DEFENDANT’S NOT|CI_E OF Rl_ENIOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Hendry County District School
Board (“Schoo| Board"), removes this action from the Circuit Court ofthe Twentieth Judicial
Circuit1 in and for Hendry County, F|orida to the United States District Court forthe |V|idd|e
District of F|orida, Fort |V|yers Division. The grounds for removal are as follows:

1. On |V|arch 22, 2019, P|aintiff Chery| Bell commenced this civil action
captioned Cherleell v. Hendry'County DistrictSchoolBoard, No. 19-CA-235, in the Circuit
Court for Hendry County, F|orida. n

2. The School Board now asks that this Court assume jurisdiction pursuant to
28 U.S.C. § 1331 because Plaintiff raises claims under Federa| law. Specifical|y, P|aintiff
alleges that the Schoo| Board interfered with her rights under the Family |V|edica| Leave Act

0f1993.

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|. Procedura| Requirements for Remova|
3. Plaintiff served the Schoo| Board on Apri| 23, 2019. This Notice of Remova|,

brought within thirty days of service of the complaint, is timely pursuant to 28 U.S.C. §

1446(b).
4. No further proceedings have been had in state court.
5. Venue is proper in this Court because it is “the district and division embracing

the place where such action is pending.” 28 U.S.C. § 1441(a).

6. No previous application has been made for the relief requested herein.

` 7. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders
received by the Schoo| Board, which includes the Comp|aint, are attached hereto at Exhibit
A.

8. ` Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
served upon P|aintiff and a copy is being filed with the C|erk of the Circuit Court for Hendry
County, F|orida,

||. Substantive Requirements for Remova|

9. This civil action falls under the Court's original jurisdiction as per 28 U.S.C. §
1331 (federal question).

10. Plaintiff alleges that the School Board “interfered with [her] lawful exercise of
FlVlLA rights."

11. To the extent Plaintiff’s complaint contains additional state |aw`claims, this
Court has supplemental jurisdiction over those matters as Wel| under 28 U.S.C. §§ 1367
and 1441. 4

WHEREFORE, the School Board respectfully submits this Notice of Remova| to

remove this action from Circuit Court of the Twentieth Judicia| Circuit Court in and for
2

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Hendry County, F|orida to the United States District Court1 lV|iddie District of F|orida, Fort
lVlyers Division.

Respectfully submitted,

s/ Richard Akin
Richard B. Akin

~rt_
l HEREBY CERT|FY that on this go ’~_ day oprri|, 2019, l electronically filed the
foregoing with the C|erk of the Court by using the CNl/ECF system which will send a notice

of electronic filing to the following:

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lVliriam Brooks, Esq., FL Bar No. 0118144
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